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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Brian Swontek,                                No. CV-16-03602-PHX-DJH
10                 Plaintiff,                      ORDER
11   v.
12   Experian Information Solutions
     Incorporated, et al.,
13
                   Defendants.
14
15          The Court having received the parties' Stipulation for Dismissal of Defendant
16   Portfolio Recovery Associates, LLC with Prejudice (Doc. 126),
17          IT IS ORDERED approving the Stipulation (Doc. 126) and dismissing this action
18   as to Defendant Portfolio Recovery Associates, LLC only, with prejudice, each party to
19   bear its own attorneys’ fees and costs.
20          IT IS FURTHER ORDERED directing the Clerk of Court to terminate Defendant
21   Portfolio Recovery Associates, LLC only.
22          Dated this 18th day of May, 2018.
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                                                Honorable Diane J. Humetewa
25                                              United States District Judge
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